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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                   )      CASE NO. 1:17-MD-2804
OPIATE LITIGATION                              )
                                               )      SPECIAL MASTER COHEN
THIS DOCUMENT RELATES TO:                      )
“Track One-B Cases”                            )
                                               )
                                               )      DISCOVERY RULING REGARDING
                                               )      PHARMACY DATA PRODUCTION


       The MDL Court earlier entered two Orders setting out the scope of discovery of transactional

dispensing data from the Pharmacy Defendants in Track One-B. See docket no. 3055 (ordering the

Defendants to “roll out” transactional dispensing data for the entire United States from 2006

forward, first locally, then regionally, then nationally); docket no. 2976 at 2 (“Special Master Cohen

will oversee this discovery”). The Pharmacy Defendants have filed a petition for writ of mandamus

challenging these orders, see docket no. 3092; however, unless and until the appellate court

overrules or modifies the Court’s rulings, the parties must move forward with discovery as ordered.

Accordingly, the undersigned met with the parties to determine exactly which “data fields” from the

Defendants’ databases must be produced.

       Plaintiffs initially sought over 160 specific data fields, including many details that qualify

as “protected health information” under HIPAA, up to and including patients’ full names and

addresses.1 The Court’s discovery orders allowed discovery of much of this information. See, e.g.,


       1
         See 45 C.F.R. §164.514(b)(2) (listing 18 categories of “identifiers” of individuals, such as
their names, telephone numbers, social security numbers, photographs, and so on).
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docket no. 3055 at 2 (“The Court has put into place numerous protective orders specifically

addressing health information protected under the Health Insurance Portability and Accountability

Act (‘HIPAA’), such as patient prescriptions.”); docket no. 1421 at 2 (granting Defendants’ request

that “Track One plaintiffs will produce all opioid-related claims data not implicated by Title 42, Part

2 of the Code of Federal Regulations (‘Part 2), with individual-identifying information.”) (emphasis

added). Nonetheless, the undersigned urged the parties to agree as much as possible to discovery

of as few data fields as absolutely necessary, while still allowing: (1) Plaintiffs to undertake their

“Red Flag analysis,” and (2) Defendants to counter Plaintiffs’ conclusions.2

       During the course of the Special Master’s discovery conference with the parties, Plaintiffs

agreed to drop their request for all but 34 data fields. The Special Master overruled Defendants’

objection to production of a few of these data fields (e.g., patient’s birth year). The parties’

negotiations and the Special Master’s rulings were all on the record. The Special Master now

documents the results of this process by attaching to this Ruling as Exhibit A the list of data fields

the Defendants must produce. Notably, only a fraction of these 34 fields contain patient protected

health information, and the most private identifiers will not be produced. Thus, for example: (1) a

patient’s name and social security number will be withheld, but she will be given a new, unique

identifying number across databases to allow cross-reference; (2) her street address will not be

produced, but her zip code will be; (3) her full date of birth will not be produced, but her birth year

will be; and so on. The end result is that no person who obtains the data will learn what medications


       2
          Plaintiffs seek to conduct a “Red Flag analysis” by having their experts examine each
Defendant’s data and opine whether certain prescriptions or prescription patterns should have raised
a “Red Flag,” such that the Defendant had an obligation to investigate the validity of the
prescriptions. Defendants intend to use the same data to show Plaintiffs’ analysis is faulty and/or
that they did undertake all necessary and appropriate investigations.

                                                  2
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any identifiable individual has received.

                                  *         *     *       *       *

       In addition to the data fields, the parties further agreed on the list of opioid drugs for which

prescription data would be produced.3 The parties could not agree fully during the status conference,

however, on the extent of data production for non-opioid drugs. Defendants did acquiesce to

provide Plaintiffs with limited prescription data for (i) a single type of sedative drug known as

alprazolam, and (ii) a single type of muscle relaxant known as carisoprodol4 – because it is known

that patients receiving all three of these drugs together are more likely to be opioid addicts engaged

in “doctor shopping” and in presentation of questionable or suspicious prescriptions.5 But

Defendants insist they should not be required to produce data for other non-opioid drugs.

       Specifically, the Pharmacy Defendants submit that their obligations regarding non-opioid

prescriptions should


       3
          Actually, the parties agreed much earlier, during litigation of Track 1A, on the list of
opioids regarding which each Defendant would respond. See, e.g., Walgreens’ Amended Objections
and Responses to Plaintiffs’ First Set of Requests for Production of Documents at 6 ¶4; Walmart’s
Amended and Supplemental Objections and Responses to Plaintiffs’ First Set Of Requests for
Production, Appendix A. The same lists continue to apply. Buprenorphine is not on these lists,
although Plaintiffs sought to include it in Exhibit B.
       4
          Alprazolam is a type of benzodiazepine and is the active ingredient in Xanax.
Carisoprodol is the active ingredient in Soma.
       5
            The three drugs together are known colloquially as the “Holy Trinity” or the “Houston
Cocktail.” See Pharmacy Times, The Perfect Storm: Opioid Risks and ‘The Holy Trinity,’
http://bit.ly/HolyTrinityMDL (“‘The Holy Trinity’ is a drug regimen that includes at least [one]
opioid, a benzodiazepine, and carisoprodol. This combination has been rising in popularity and is
commonly prescribed by ‘pill mills.’”); Superior HealthPlan, Deadly Drug Combination: The
Houston Cocktail, http://bit.ly/HoustonCocktailMDL (“The Houston Cocktail, also known as the
Holy Trinity, is made up of a combination of hydrocodone, alprazolam [a benzodiazepine], and
carisoprodol that, when taken together, can be lethal for patients. The combination of these
medications do not show clinical benefits and may be viewed as drug-seeking behavior.”).

                                                  3
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       be limited to data concerning the “Trinity” or “Holy Trinity” combinations,
       described by DEA in the context of enforcement efforts and by the Ohio Board of
       Pharmacy, as consisting of (1) alprazolam; (2) carisoprodol; and (3) either
       oxycodone or hydrocodone. The Pharmacy Defendants further submit that any
       dispensing data concerning this combination of drugs must be limited to that which
       is (1) filled on the same day at the same store, (2) for the same patient, (3) prescribed
       by the same prescriber, and (4) dispensed in 2013 and later.

Position Paper from Tara Fumerton to Special Master at 1 (Jan. 27, 2020). Defendants support their

position with, among other materials, position papers and presentations made by the DEA, FDA, and

Ohio Board of Pharmacy.6 Defendants also note correctly that every addition to their data

production increases their discovery cost and to some extent the invasion of their customers’

privacy.

       Plaintiffs argue, however, that: (a) it is not only the specific three-drug combinations listed

by Defendants that can raise “Red Flags;” and (b) the limitations of same day / same store / same

prescriber are too narrow. Plaintiffs assert, for example, that if a “Red Flag” is present when a

patient obtains three same-day prescriptions for Oxycontin (opioid), Soma (carisoprodol), and Xanax

(benzodiazepine), then a “Red Flag” is equally present for a patient obtaining three same-week

prescriptions for Oxymorphone (different opioid), Soma (carisoprodol), and Valium (different

benzodiazepine). Plaintiffs assert they should be allowed to discover all dispensing data for

prescriptions of 14 types of benzodiazapines, 4 muscle relaxants, and 11 sleep aids, because it is

known that patients receiving any combination of these categories of drugs (including only just two-

drug combinations) are very often also drug-seeking; therefore, these prescriptions are all necessary



       6
        See, e.g., DEA PowerPoint presentation, “DEA Perspective: Pharmaceutical Use & Abuse”
(2013) (referring to the “Cocktail” or “Trinity” as being composed of “Hydrocodone,
Soma®/carisoprodol, [and] Alprazolam/Xanax®”).

                                                  4
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for a full “Red Flag” analysis. See Exhibit B (Plaintiffs’ list of drugs they want for a “Red Flag”

analysis). Plaintiffs support their position with, among other material, Defendants’ own documents.7

       The Special Master has reviewed all of the materials submitted by the parties and considered

carefully the extent to which the discovery Plaintiffs seek is proportional to the needs of the case,

including patient privacy interests. See Fed. R. Civ. P. 26(b)(1). The Special Master concludes as

follows:

•      In addition to producing the 34 fields of transactional dispensing data for the relevant opioid

       drugs, Defendants shall produce data for: (i) the 14 benzodiazepines, and (ii) the 4 muscle

       relaxers, that are listed by Plaintiffs in Exhibit B. Defendants need not produce transactional



       7
           See, e.g., “Walgreens Pharmacist GFD [Good Faith Dispensing] Review Coaching
Opportunities” PowerPoint Presentation at 13 (2013) (areas of concern include “Cocktails identified
as an Opiate or Hydrocodone, Benzodiazepine and Carisoprodol, where the Benzodiazepine and
Carisoprodol (or Gabapentin) were both dispensed within 12 days plus of the Opiate dispensing
date.”) (emphasis added). See also Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 & 5195
Decision and Order, 77 Fed. Reg. 62,316 at n.102 (DEA Oct. 12, 2012) (“The Respondents contend
that the [two-drug] oxycodone-alprazolam combination was not a red flag in 2010, when most of
the allegedly wrongful dispensing occurred. * * * Contrary to this contention, [Diverson
Investigator] Langston testified that the combination of oxycodone and Xanax (the brand name for
alprazolam) was a red flag of diversion for at least “[a] couple of years ago.”).
        Notably, Defendants’ Position Paper cites a video produced by the Ohio Board of Pharmacy
to support their argument that “Red Flags” are raised only by the two combinations of: (1)
alprazolam, (2) carisoprodol, and (3)(a) hydrocodone or (b) oxycodone. In fact, however, the
Board’s video, “Red Flags of Prescription Drug Diversion,” states: “Drug addicts will often combine
prescription medicines to intensify the effect. This is referred to as a ‘drug cocktail,’ and involves
mixing an opiate with a benzodiazepine and a muscle relaxant.”
See https://www.youtube.com/watch?v=WY2I2JE3Hqs at 5:55-6:00 (emphasis added). The video
goes on to note that addicts use street names to refer to certain cocktails, such as “Trio” or “Trinity”
for hydrocodone-alprazolam-carisoprodol, and “Holy Trinity” for oxycodone-alprazolam-
carisoprodol. Id. at 6:00-6:20. But the video clearly states that the “Trinity” and “Holy Trinity”
combinations are not the only “Red Flags.” Further, the same video shows that limiting data to
prescriptions from the same prescriber or filled on the same day is inappropriate. Id. at 7:22-7:52
(showing that multiple prescribers can be a “Red Flag” for doctor shopping, and that addicts present
prescriptions for cocktail drugs over several days).

                                                   5
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       dispensing data for the 11 sleep aid medications requested by Plaintiffs. To quote again the

       Ohio Board of Pharmacy, the most glaring “Red Flag” prescription combinations involve

       “mixing an opiate with a benzodiazepine and a muscle relaxant.” See footnote 7. The

       materials submitted to the Special Master do not support inclusion of sleep aid combinations

       in the “Red Flag cocktail menu.”

•      Each Defendant may choose to simply produce all of its data for benzodiazepine and muscle

       relaxer prescriptions, without limitation; or instead produce only data for such prescriptions

       where it dispensed a benzodiazepine or muscle relaxer to a patient and also dispensed an

       opioid to the same patient within 14 days (before or after).8

                                  *       *       *       *       *

       Finally, the Special Master rules as follows regarding the timing of Defendants’ data

production and Plaintiffs’ identification of “Red Flag” prescriptions.

•      Defendants shall produce all of the required data on or before March 2, 2020.

•      As soon as possible thereafter, but no later than March 30, 2020, Plaintiffs shall identify for



       8
          In other words, each Defendant has two choices. First, it may simply produce data for all
of its prescriptions for the listed benzodiazepines and muscle relaxers, and let Plaintiffs figure out
which were given to patients who also received recent prescriptions for opioids. Second, a
Defendant may instead filter its data and produce only its prescriptions for the listed
benzodiazepines and muscle relaxers that it dispensed to a patient who also received from it a
prescription for opioids within a 14-day plus-or-minus window. This gives each Pharmacy
Defendant options to tailor, in part, its own discovery burden. That said, the deadlines discussed
below may limit a Defendant’s choice, if applying the data filter causes data production to take
longer.
         The Special Master adds that giving Defendants the option of a more complicated filter, such
as producing non-opioid prescriptions only when the patient received both a benzodiazepine and
a muscle relaxer within a 14-day plus-or-minus window of an opioid prescription, is not warranted
and possibly unworkable. Last, as stated earlier, all prescription data shall date back to 2006. See
docket no. 3055.

                                                  6
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       Defendants the prescriptions they (and their experts) conclude should have been “Red

       Flagged” as suspicious, and investigated or not filled.

•      As soon as possible thereafter, but no later than 14 days from the date of Plaintiffs’ “Red

       Flag” identification, Defendants shall produce, for all earlier-supplied prescriptions, any

       additional data fields upon which they or their experts intend to rely in defending against

       Plaintiffs’ claims.9

                                   *       *       *       *       *

       Any objection to this Ruling must be filed on or before January 30, 2020. Unless and until

the Court sustains an objection, or this Ruling is affected by an Order issued by the Sixth Circuit

Court of Appeals in response to the Defendants’ petition for writ of mandamus, the parties must

proceed in accordance with this Ruling. A successful objection must demonstrate abuse of

discretion. See Fed. R. Civ. P. 53(f)(5); Order of Appointment (docket no. 69) at 5.

               RESPECTFULLY SUBMITTED,

                                                       /s/ David R. Cohen
                                                       David R. Cohen
                                                       Special Master

Dated: January 27, 2020




       9
          At the discovery conference, Defendants stated they might want to produce more than the
agreed-upon 34 data fields, in order to defend themselves, depending on the results of Plaintiffs’
“Red Flag” analysis; but they would not know their position until after having received the analysis.
Accordingly, the parties agreed that: (1) Defendants could amend their data production with
additional fields for all prescriptions in response to Plaintiffs’ list of “Red Flag” prescriptions; and
(2) when countering Plaintiffs’ claims as the case goes forward, Defendants would not be allowed
to rely upon any data fields they did not produce.

                                                   7
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         Exhibit A – List of Data Fields the Pharmacy Defendants Must Produce


   No.                                      Data Field
    1        Drug name
    2        NDC number
    3        Date filled
    4        Quantity dispensed
    5        Dosage form
    6        Days’ supply
    7        Prescriber’s name
    8        Prescriber’s DEA number
    9        Dispensing pharmacist
   10        Patient Zip Code
   11        Patient ID # (Unique ID)
   12        Quantity prescribed
   13        Number of refills authorized (if any)
   14        Diagnostic code
   15        Method of payment
   16        Patient paid amount
   17        Whether prescription covered by third‐party payor
   18        Control / Non‐Control ratio
   19        Pharmacy DEA #
   20        Pharmacy Store #
   21        Pharmacy address (at the zip code level or finer)
   22        Prescriber address (at the zip code level or finer)
   23        Prescription Date written
   24        Refill indicator (whether the Rx is a refill or the original)
   25        Prescriber Specialty
   26        Rejection indicator (whether the pharmacy rejected to fill)
   27        Prescriber's NPI Number
   28        Patient DOB Year (or age)
   29        DEA Override
   30        DEA Schedule (Same as Control/Non‐Control)
   31        Dispense Hour
   32        Dispense Minute
   33        Drop Off Hour
   34        Drop Off Minute




                                            8
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         Exhibit B - List of Drugs Plaintiffs want for a “Red Flag” analysis


                             A                    B
                1   Drug Category      Base Drug
                2   Benzodiazepines    alprazolam
                3   Benzodiazepines    chlordiazepoxide
                4   Benzodiazepines    clobazam
                5   Benzodiazepines    clonazepam
                6   Benzodiazepines    clorazepate
                7   Benzodiazepines    diazepam
                8   Benzodiazepines    estazolam
                9   Benzodiazepines    flurazepam
               10   Benzodiazepines    lorazepam
               11   Benzodiazepines    midazolam
               12   Benzodiazepines    oxazepam
               13   Benzodiazepines    quazepam
               14   Benzodiazepines    temazepam
               15   Benzodiazepines    triazolam
               16   Muscle relaxers    Carisoprodol
               17   Muscle relaxers    Cyclobenzaprine
               18   Muscle relaxers    orphenadrine
               19   Muscle relaxers    tizanidine
               20   Opioid             Codeine
               21   Opioid             Dihydrocodeine
               22   Opioid             Fentanyl
               23   Opioid             Hydrocodone
               24   Opioid             Hydromorphone
               25   Opioid             Levorphanol
               26   Opioid             Meperidine
               27   Opioid             Morphine
               28   Opioid             Opium
               29   Opioid             Oxycodone
               30   Opioid             Oxymorphone
               31   Opioid             Tapentadol
               32   Opioid Treatment   Buprenorphine
               33   Opioid Treatment   Methadone
               34   Sleep Aid          doxepin
               35   Sleep Aid          estazolam
               36   Sleep Aid          eszopiclone
               37   Sleep Aid          flurazepam hydrochloride
               38   Sleep Aid          ramelteon
               39   Sleep Aid          suvorexant
               40   Sleep Aid          temazepam
               41   Sleep Aid          trazodone
               42   Sleep Aid          triazolam
               43   Sleep Aid          zaleplon
               44   Sleep Aid          zolpidem tartrate
